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                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



  IN RE: E. I. DU PONT DE NEMOURS AND              CASE NO. 2:13-MD-2433
  COMPANY C-8 PERSONAL INJURY
  LITIGATION                                       JUDGE EDMUND A. SARGUS, JR.

  This document relates to:                        MAGISTRATE JUDGE ELIZABETH P.
                                                   DEAVERS
  Bartlett v. E. I. du Pont de Nemours and
  Company, No. 2:13-CV-170


     DUPONT’S MOTION IN LIMINE TO EXCLUDE EVIDENCE OR ARGUMENT
   REGARDING THE 2005 DEPARTMENT OF JUSTICE SUBPOENA AND RELATED
                   INVESTIGATION CONCERNING PFOA
                          (Motion in Limine No. 3)


         Pursuant to Rules 401, 402, 403, 404 and 609 of the Federal Rules of Evidence,

  Defendant E. I. du Pont de Nemours and Company (“DuPont”) respectfully moves the Court for

  an Order precluding Trial Plaintiff Carla Bartlett from eliciting testimony, introducing

  documents, or making comments or arguments regarding the U.S. Department of Justice

  (“DOJ”) investigation concerning DuPont’s handling of PFOA at the Washington Works facility.

  The DOJ investigation is irrelevant to Mrs. Bartlett’s claims, and allowing evidence or argument

  concerning the existence of the investigation would be unfairly prejudicial to DuPont.

                                         BACKGROUND

         On May 17, 2005, DuPont was served with a grand jury subpoena by the Environmental

  Crimes Section of the Environment and Natural Resources Division of DOJ. Dec. of James P.

  Denvir III (Ex. 1) ¶ 1. The subpoena broadly sought the production of documents related to

  perfluorooctanoic acid (referred to as “PFOA” and “C-8”). See id. ¶¶ 4-5 & Ex. A thereto. The

  DOJ conducted its investigation over the course of the following 15 months. Id. ¶ 8. During that
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  time, DuPont produced approximately 800,000 pages of documents from approximately 900

  custodians. Id. ¶ 6. DuPont also provided several witnesses for testimony before the grand jury.

  Id.

         On October 12, 2007, DuPont was informed by the DOJ that it had completed its review

  of “information made available to us relevant to DuPont’s research into and use of

  perfluorooctanoic acid at its Washington Works facility and we will not be pursuing criminal

  charges at this time.” Id. ¶ 8 & Ex. B thereto (emphasis supplied). The letter further stated: “I

  thank you and your client for your cooperation during this investigation – it was very much

  appreciated.”   Id.   At the conclusion of the investigation, the DOJ did not issue a report

  documenting their findings. There have never been any criminal proceedings initiated against

  DuPont concerning PFOA, much less any criminal convictions.

         Based on Mrs. Bartlett’s trial exhibit list and deposition designations, DuPont anticipates

  that Plaintiff will attempt to introduce evidence and make arguments and comments concerning

  the DOJ investigation at trial, in an effort to suggest to the jury that DuPont engaged in some

  type of criminal conduct with respect to its handling of C-8 at Washington Works, or otherwise

  to support a baseless character attack against DuPont. Indeed, Plaintiff has designated deposition

  testimony referencing the DOJ investigation. See Tr. of Dec. 7, 2007 Depo. of Michael W.

  McCabe [ECF No. 4034, Ex. H] at 16:24-17:9 (designated by Plaintiff); Tr. of Oct. 3, 2007

  Depo. of David Wegman at 130:17-133:22 (designated by Plaintiff). Plaintiff also has included

  at least six exhibits concerning the DOJ Investigation. See Pl.8402 (Email from R. Bilott to L.

  Stennes re: DOJ Grand Jury Subpoena attached correspondence with US Dept of Justice) (Ex. 2),

  Pl.8461 (Letter from J. Denvir to K. Dighe re: Grand Jury Subpoena Duces Tecum to DuPont)

  (Ex. 3), Pl.8462 (Letter from K. Dighe to R. Bilott enclosing grand jury subpoena) (Ex. 4),



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  Pl.8463 (Letter from K. Dighe to R. Bilott re: confidential records & grand jury subpoena) (Ex.

  5), Pl.8464 (Letter from K. Dighe to R. Bilott re: Postponement of document production) (Ex. 6),

  & Pl.8465 (Letter from K. Gillibrand to R. Bilott re: Document disclosures for subpoena with

  enclosures) (Ex. 7). As explained below, evidence, argument or commentary concerning the

  DOJ investigation is irrelevant to Mrs. Bartlett’s claims and would be unfairly prejudicial to

  DuPont. Accordingly, it should be excluded from the trial.

                                               ARGUMENT

  I.      Evidence and Argument Concerning the DOJ Investigation is Irrelevant.

          Only relevant evidence is admissible. Fed. R. Evid. 402. Evidence is only relevant if “it

  has any tendency to make a fact more or less probable than it would be without the

  evidence…and the fact is of consequence in determining the action.” Fed. R. Evid. 401. The

  fact that the DOJ undertook an investigation of DuPont’s handling of PFOA-related

  matters at the Washington Works is irrelevant to Mrs. Bartlett’s claims.                      The DOJ’s

  decision to initiate an investigation into DuPont’s handling of PFOA-related information,

  standing alone, has no tendency to make a fact of consequence in determining Mrs. Bartlett’s

  claims more or less probable. Indeed, the DOJ’s motivations for initiating its 2005 investigation

  into DuPont’s conduct are known only to the DOJ. DOJ’s decision to not pursue criminal

  charges against DuPont, however, makes clear that DOJ did not believe that probable cause

  existed to charge DuPont with any crime. Under these circumstances, the bare fact that DOJ

  initiated an investigation is irrelevant to Mrs. Bartlett’s claims, and it should be excluded.1


          1
            Because the DOJ did not bring formal criminal charges against DuPont, evidence concerning
  the DOJ’s investigation here is even less probative than the evidence of a DOJ lawsuit that this Court
  excluded in Mathis v. Best, 2002 U.S. Dist. LEXIS 14277 (S.D. Ohio July 2, 2002) (Sargus, J.). See id. at
  *2-3 (“The Court concludes that any evidence pertaining to the Justice Department lawsuit shall be
  excluded . . . . Defendant’s motion to exclude evidence of the lawsuit during the Plaintiff’s case-in-chief
  is granted.”). Similarly, because Evidence Rule 608 excludes criminal convictions that are more than 10

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  II.     Evidence of the DOJ Investigation Should Be Excluded Because of the Risk of
          Unfair Prejudice.

          As the Court knows, even relevant evidence may be excluded “if its probative value is

  substantially outweighed by a danger of one or more of the following: unfair prejudice,

  confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

  cumulative evidence.” Fed. R. Evid. 403. Here, even if evidence or argument concerning the

  DOJ investigation was relevant to Mrs. Bartlett’s claims (it is not), any claimed probative value

  would be substantially outweighed by unfair prejudice, waste of time, confusion of the issues,

  and would be misleading to the jury. Accordingly, it should be excluded under Fed. R. Evid. 403.

          Evidence is unfairly prejudicial when it suggests to the jury they should make a

  decision on an improper basis. See United States v. Mendez-Ortiz, 810 F.2d 76, 79 (6th Cir.

  Ohio 1986). Evidence concerning the DOJ investigation is unfairly prejudicial as it invites the

  jury to improperly speculate concerning the reasons for the DOJ’s investigation, and why

  DOJ concluded there was no probable cause to believe a crime had been committed. Moreover,

  the fact that DOJ decided to initiate a criminal investigation will likely carry significant (and

  undeserved) weight and emotional appeal in the mind of jurors, who may simply assume that the

  DOJ would not have investigated unless it believed DuPont had done something wrong. Only

  DOJ knows why they initiated their investigation, and those reasons are beyond the powers of

  the Parties in this case to discover. To permit the jury to speculate on matters which cannot be

  discovered or effectively rebutted by DuPont, is unfairly prejudicial.              Moreover, rebutting

  evidence of the DOJ investigation (to the extent that is even possible), would introduce




  years old (subject to exceptions that do no apply here), it is even more compelling that this more than 10
  year old investigation (that did not even result in any criminal lawsuit, much less a conviction) should be
  excluded from the trial.

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  confusion stemming from collateral matters and waste the time of the Defendant, the Court, and

  the Jury.

                                         CONCLUSION

     For all these reasons, and in the interests of justice, DuPont respectfully requests that the

  Court preclude Mrs. Bartlett from introducing at trial any evidence, argument, or commentary

  regarding the DOJ investigation.


                                             Respectfully submitted:

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                                   CERTIFICATE OF SERVICE

         A true and correct copy of the foregoing was electronically filed with this Court’s

  CM/ECF system on this 20th day of July 2015 and accordingly served automatically upon all

  counsel of record for this matter.



                                           s/ Damond R. Mace
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